                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CIVIL ACTION NO. 3:24-CV-00128

 MARC STRICKER,

                          Plaintiff,

 v.
                                                        NOTICE OF REMOVAL
 SARAH SMITH and CAREY SEALY

                          Defendants.


       Defendant Sarah Smith and Defendant Carey Sealy (“Smith” or “Sealy”

respectively or “Defendants” collectively), provide this Notice of Removal concerning an

action filed by Plaintiff Marc Stricker (“Plaintiff”) in the General Court of Justice, Superior

Court Division, for Union County, North Carolina. In support of this Notice of Removal,

Defendants show the following:

       1.     On January 5, 2024, Plaintiff filed his Complaint in Union County Superior

Court where it was assigned Civil Action No. 24 CVS 41. A copy of the Civil Action

Cover Sheet and the Complaint is attached as Exhibit A.

       2.     The Union County Clerk of Court issued a Civil Summons on the same day.

A copy of the Civil Summons is attached as Exhibit B.

       3.     Smith was served with the Summons and the Complaint on January 26, 2024.

A copy of the served Summons is attached as Exhibit C.




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       4.     The Sheriff of Orange County, Florida served Sealy with the Summons and

the Complaint on January 23, 2024. A copy of the served Summons is attached as Exhibit

D.

       5.     In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is filed

within thirty (30) days after Defendants’ receipt of a copy of the initial pleading setting

forth the claims for relief upon which Plaintiff’s action is based.

       6.     The United States District Court has original jurisdiction over this matter

pursuant to 28 U.S.C. §§ 1332; 1441 because it is a civil action where the matter in

controversy exceeds $75,000.00 and is between citizens of different states.

       7.     As the Summons correctly indicates, Plaintiff is domiciled in Waxhaw, North

Carolina while Smith and Sealy are domiciled in Texas and Florida respectively. Ex. B.

       8.     Therefore, diversity jurisdiction under 28 U.S.C. § 1332 exists because the

Parties are citizens of North Carolina, Texas, and Florida. Moreover, “[t]his Court may

construe the mailing addresses Plaintiff used for himself and Defendants as allegations

about their state citizenship.” Robinson v. Pardee UNC Healthcare, 1:20-CV-372-MOC-

WCM, 2022 WL 828471, at *3 (W.D.N.C. Mar. 18, 2022).

       9.     Further, the amount in controversy surpasses the $75,000.00 requirement of

28 U.S.C. § 1332(a) because Plaintiff’s Complaint demands upwards of 5.2 million dollars

exclusive of interest and costs. See Ex. A, Compl. at 3 (Plaintiff demands $212,500.00

excluding speculative future earnings).




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      10.    Defendants are providing written notice of the filing of this Notice of

Removal to Plaintiff and are also filing a copy of this Notice of Removal with the Union

County Clerk of Court pursuant to 28 U.S.C. § 1446(d).

      WHEREFORE, Defendants hereby remove this action from the Superior Court of

Union County to the United States District Court for the Western District of North

Carolina.


      This the 2nd day of February, 2024.

                                            /s/ William J. McMahon_____
                                            William J. McMahon, IV
                                            NC State Bar No. 34097
                                            Email: bmcmahon@constangy.com
                                            /s/ J. Rodrigo Pocasangre____
                                            J. Rodrigo Pocasangre
                                            NC State Bar No. 41530
                                            Email: rpocasangre@constangy.com
                                            CONSTANGY, BROOKS, SMITH
                                            & PROPHETE, LLP
                                            One West 4th Street, Suite 850
                                            Winston-Salem, NC 27101
                                            Telephone: (336) 721-1001
                                            Facsimile: (336) 748-9112

                                            Attorneys for Defendants




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2024, I electronically filed the NOTICE OF

REMOVAL with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following: NONE and will also serve the Plaintiff with a

copy via US Mail, postage prepaid, at the following address:



                                     Marc Stricker
                                 7503 Yellowhorn Trail
                                  Waxhaw, NC 28173




                                          /s/ J. Rodrigo Pocasangre____
                                          J. Rodrigo Pocasangre
                                          NC State Bar No. 41530
                                          Email: rpocasangre@constangy.com
                                          CONSTANGY, BROOKS, SMITH
                                          & PROPHETE, LLP
                                          One West 4th Street, Suite 850
                                          Winston-Salem, NC 27101
                                          Telephone: (336) 721-1001
                                          Facsimile: (336) 748-9112

                                          Attorney for Defendants




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